Case 3:22-cv-00594-E-BT Document 33-1 Filed 11/10/22   Page 1 of 5 PageID 117




                  EXHIBIT 1
Case 3:22-cv-00594-E-BT DocumentEXHIBIT  1 11/10/22
                                 33-1 Filed           Page 2 of 5 PageID 118
Case 3:22-cv-00594-E-BT DocumentEXHIBIT  1 11/10/22
                                 33-1 Filed            Page 3 of 5 PageID 119




                                                      450-2020-06863
Case 3:22-cv-00594-E-BT DocumentEXHIBIT  1 11/10/22
                                 33-1 Filed           Page 4 of 5 PageID 120
Case 3:22-cv-00594-E-BT DocumentEXHIBIT  1 11/10/22
                                 33-1 Filed           Page 5 of 5 PageID 121
